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For Official Use Only:
Juror Number

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CRIMINAL NO. 13-10200-GAO
UNITED STATES OF AMERICA
v.

DZHOKHAR A. TSARNAEV,
Defendant.

 

Juror Name
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United States v. Dzhokhar Tsarnaev
Cr. No. 13-10200-GAO

Juror Questionnaire

The information that you provide in this questionnaire will be used by the Court and the
parties to select a qualified jury in this case; that is, a jury that can render a verdict fairly and
impartially based upon the evidence offered at trial in accordance with the law as instructed by
the Judge. Both parties are entitled to a jury that is fully fair and impartial. This questionnaire
and the jury selection process that we are about to begin is not meant to be intrusive; rather, it
serves the important function of ensuring that a fair and impartial jury is selected to hear and
decide this case.

It is very important that you answer these questions as completely and accurately as you
can. Please write legibly and answer the questions as candidly as possible. There are no right or
wrong answers to these questions. But honesty and candor are of the utmost importance. You
have taken an oath promising to give truthful answers. The integrity of the process depends upon
your truthfulness.

Please bear the following instructions in mind:
e Do not consult, confer, or talk with any other person in completing this questionnaire.

e Ifyou are unable to answer a question because you do not understand the question, please
write “Do not understand” in the space after the question. Do not ask anyone, including
court personnel, for clarification or assistance.

e Ifyou are unable to answer a question because you do not know the answer, please write
“Do not know” in response to the question.

e Ifyou believe that your response to a particular question is of a sensitive or private nature
and would like to request that your response not be made public, please write the number
of that question in your response to Question #100. Alternatively, if you would prefer not
to write an answer to a particular question because of the sensitive or private nature of
your response, please write “Private” after the question. The Court may still need to
speak with you about the topic, but will endeavor to do so bearing your concerns in mind.

e Please do not write on the back of any page. Use the blank space at the end of the
questionnaire (front side only) where there is insufficient room on the form for your
answer to any question. When using this space, please include the number of the
question(s) you are answering.

e Please write legibly.

You will be permitted to leave for the day when you have completed the questionnaire.
Do not discuss any of the questions or your answers on this questionnaire with anyone, including

 

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members of your family, co-workers, or other potential jurors. If anyone approaches you and
attempts to discuss any aspect of this questionnaire, the jury selection process, or any aspect of
this case, you may not answer their questions or engage in any discussion.

Do not discuss anything about this case with anyone and do not read, listen to, or watch
anything relating to this case until you have been excused as a potential juror, or if you are
selected as a juror, until the trial is over. You may not discuss this case or allow yourself to be
exposed to any discussions of this case in any manner.

When you have completed the questionnaire, please sign it, affirming the truth of your
answers and confirming that you had no assistance in completing it. As explained by the Court,
you will receive further instructions about whether you need to return for the next phase of jury
selection by calling the juror information line and entering your nine-digit participant number.

The Court thanks you for your attention and willingness to serve as a juror, an important
duty of citizenship in our democracy.
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. Date of birth:

 

. Gender: O Male 0) Female

. Race: (This information will not affect your selection for jury service.)

O Black/African American OO) Asian OO American Indian/Native Alaskan
O) White O Native Hawaiian/Pacific Islander © Other:

. In what city or town do you live?

 

. How long have you lived there?

 

If you have lived at that location fewer than 5 years, please list the cities or towns in
which you have lived since 2010:

 

 

. In what city, state, and country were you born and raised?
Born: Raised:

If you were born in another country, when did you move to the United States, and when
did you obtain U.S. citizenship?

Moved: Citizenship:
. Have you ever lived in another country? O Yes O No

What Country? For How Long?

. Do you have any problem understanding English that would make it difficult or
impossible for you to serve as a juror in this case? O Yes 01 No
If “yes,” please explain:

 
9.

10.

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If you believe you have a medical, physical, psychological, or emotional problem, issue,
or condition that would affect your ability to serve as a juror, including difficulty hearing,
seeing, reading, or concentrating, please explain:

 

 

 

If you believe you could serve as a juror if such condition were accommodated in some
way, please state the accommodation:

 

If you are selected to serve on this jury, the trial is scheduled to start immediately after
jury selection is completed and to continue for three or four months. The jury will sit on
Monday through Thursday from 9:00 a.m. to 4:00 p.m. with a mid-morning break and a
lunch break. The jury will also sit on Friday during a week in which the Monday is a
legal holiday, such as President’s Day. Once the jury begins its deliberations, the jury
will sit at least every weekday from 9:00 a.m. until the end of the day (usually 4:30 p.m.).

The Court is well aware that this is a demanding schedule. However, in fairness to all
involved in this important process, the Court will only excuse someone from jury duty for
the most compelling reasons. That is, answering “yes” to this question will not
necessarily result in the Court allowing you to be excused from service. With this in
mind, does the schedule described above impose a special hardship on you such that it
would be difficult or impossible for you to serve in this case?

If “yes,” please explain:

 

 

 
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11. If you take any medications that you think might affect your ability to serve as a juror,
please describe them and their effects:

Medication Side Effects
Example: Xanax Makes me sleepy

 

 

 

 

 

12. What is your current relationship status?

(Married CI Single C) Separated
O Divorced O Widowed JO Civil Union/Domestic Partner

13. Please identify your current spouse or domestic partner (if any) and all former spouses
and domestic partners (if any) and provide their highest levels of education and
occupations while you were together:

Relationship to You Highest Education Level Occupation
Example: Ex-wife BA in Physics Engineer
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14. Please describe your parents’ and/or step-parents’ current or, if retired, former
occupations. Write “none” or “deceased” if that applies.

Father:

 

Step-father:

 

Mother:

 

Step-mother:

 

15. Please identify all your children and step-children (including any who are deceased):
M/F Age Occupation (if any) Place of Residence

#)

 

#2

 

#3

 

#4

 

16. Please identify all your siblings and step-siblings (including any who are deceased):
M/F Age Occupation (if any) Place of Residence

#1

 

#2

 

#3

 

Ha

 

#5

 
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17. Have any of your siblings tried to influence your direction in life or your major life
decisions (e.g., choice of job, spouse, religion, congregation)? 0 Yes O No
If “yes,” please explain:

 

 

 

18. Have you tried to influence any of your siblings’ direction in life or major life decisions
(e.g., choice of job, spouse, religion, congregation)? O Yes O1 No
If “yes,” please explain:

 

 

 

19. Do you feel that any of your siblings has had a major positive or negative influence on
you? O Yes O No
If “yes,” please explain:

 

 

 

20. Do you believe most teenagers are easily influenced by older siblings? O Yes O1 No

21. If you or any close family member has (or ever had) a mental health or addiction problem
that you know about, please describe it:

 

 

 
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22. Please list all schools you attended after high school, what you studied, and any
certificates or degrees that you received:

School Location Area of Study Degree/Certificate

 

 

 

 

23. If you have studied law, medicine, psychiatry, psychology, counseling, sociology, social
work, or religion, please describe your training:

 

 

24.If you have studied ballistics, explosives, arson, criminology, terrorism, computer
science, crime scene investigation, or law enforcement, please describe your training:

 

 

25. Do you plan to attend school in the future? O Yes O1 No
If “yes,” what do you intend to study?

 

 
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26. List any jobs you have held for the past 10 years, in reverse chronological order, noting
periods of unemployment, retirement, disability, homemaking, study, or stay-at-home
parenting. Check “Sup.” if you supervised others. If you can’t remember exact names,
titles, or time periods, please give your best estimate.

Employer Title/Position Years Sup.

to 2015

 

to

 

to

to

to

to

Oo O O88 OF 0 OO OO

to

27. If you are currently employed, please describe your job responsibilities:

 

 

28. If you have ever been a published or unpublished author, please describe the things you
have written and when you wrote them:

 

 

29. If you blog or post messages or opinions on websites, please describe the websites, the
types of things you blog or post, and how often you do it:

 

 

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30. If you use social media (Facebook, Instagram, Twitter, etc.), please list all the social
media you use and how frequently you use each one:

 

 

31. If you, a family member, or close friend ever served in the military (including Reserves,
National Guard, or ROTC), please describe the nature and length of that service:

 

 

 

32. If one or more of the people you listed ever experienced combat (that you know about),
please explain:

 

 

33. Have you, a family member, or close friend ever worked for, applied for a job at, or
volunteered at a prosecutor’s office, public defender’s office, criminal defense attorney’s
office, or any other law office? O Yes O) No
If “yes,” please explain (including employer and dates of work):

Relationship Office Dates
Example: Wife State Prosecutor 2007-present

 

 

 

 

 

 

 

 

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34. Have you, a family member, or close friend ever, to your knowledge, worked for, applied
for a job at, or volunteered at a law enforcement agency (e.g., FBI, DEA, ATF, ICE, IRS,
U.S. Marshals Service, police, sheriff, or correctional department)?

OYes ONo
If “yes,” please explain (including agency and dates of affiliation):

Relationship Agency Dates
Example: Son FBI Agent 2007-present

 

 

 

 

 

 

 

35. Have you, a family member, or close friend ever, to your knowledge, worked for, applied
for a job at, or volunteered at any federal, state, or local department of corrections, prison,
jail, board of prisons, pardons or parole board or probation agency, youth authority, or
correctional or detention facility? 0 Yes OJ No
If “yes,” please explain:

Relationship Agency Dates
Example: Self Parole Officer 2007-present

 

 

 

 

 

 

 

 

36. The jurors in this case will be instructed that the testimony of a law enforcement officer is
to be treated the same as the testimony of any other witness. Jurors are to give neither
greater nor lesser weight to the testimony based solely upon the witness’s status as a law
enforcement officer. Do you have any concerns about your ability to follow this
instruction? O Yes O No
If “yes,” please explain:

 

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37. Have you ever done paid or volunteer work for the benefit of people accused of crimes or
people who served time in prison? O) Yes 01 No
If “yes,” please explain:

 

 

 

38. Have you ever attended a meeting, sponsored an effort, or supported any group that deals
with victims’ rights? O Yes 0 No
If “yes,” please explain:

 

 

 

39. Have you ever attended a meeting, sponsored an effort, or supported any group that deals
with the reform of any laws? O Yes 01 No
If “yes,” please explain:

 

 

 

40. If you, a family member, or a close friend have ever (to the best of your knowledge)
committed a crime and/or been arrested, accused of a crime, charged with a crime, or
prosecuted for a crime, other than a minor traffic violation, please explain (include the
person’s relationship to you, the charge, the approximate date, the location, and the
outcome):

Example: Close friend, Drug Possession, 1982, New Mexico, Pleaded guilty

 

 

 

 

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41. If you, a family member, or close friend, have ever (to the best of your knowledge) been
the victim of a crime, please explain (including the person’s relationship to you, when
and where the crime occurred, and the outcome of any prosecution):

Example: Sister, Victim of assault, 1999, Chicago, Defendant convicted

 

 

 

 

42. If you (to the best of your recollection) have ever had to appear in court or in any court
proceeding (e.g., court trial, court or administrative hearing, civil or criminal deposition,
etc.) OTHER THAN as a defendant (e.g., as a witness), please explain:

 

 

43. If you, a family member, or a close friend (to the best of your knowledge) have ever been
treated unfairly by a law enforcement officer or by the criminal justice system, please
explain:

 

 

 

44. If you have strongly positive or negative views about prosecutors, please explain:

 

 

45. If you have strongly positive or negative views about defense attorneys, please explain:

 

 

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46. If you have strongly positive or negative views about law enforcement officers, please
explain:

 

 

47. Have you ever served on a jury before? If “yes,” please describe (to the best of your
recollection), for each case on which you served, whether it was state or federal, civil or
criminal, what the charges or allegations were, when, where, whether the jury reached a
verdict, and whether you were a foreperson:

 

 

 

48. If you answered “yes” to #47, is there anything about the experience that would make
you want to serve, or not serve, on a jury again? Please explain:

 

 

 

49. Have you ever served on a grand jury? If “yes,” when and where?

 

50. In the past 10 years, what court cases have you followed with interest? What interested
you about these cases?

 

 

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51. If, to the best of your knowledge, you, or anyone close to you has participated in a group
that takes positions on political or social issues (e.g., civil rights, prisoners’ rights, crime
control, the environment, death penalty, digital freedom, tax reform), please describe the
group and any relevant leadership position:

Relationship Organization Level of Participation

Example: Spouse The Sierra Club Board of Directors

52. Have you ever changed your mind about an important decision you had to make in your
life? If “yes,” please give a specific example or examples:

 

 

If you answered the previous question affirmatively, what do you think led you to change
your mind? Answer as many as apply:

___ Additional information

___ Reconsideration of pros and cons
___ Opinions of others

____ Other:

 

53. What religion were you born into (if any)?

 

54. What religion do you currently practice (if any)?

 

55. How religious do you consider yourself?

 

56. How often do you attend your place of worship (if any)?

 

57. How familiar are you with the teachings of Islam (i.e., the Muslim religion)?

0 Very familiar 0 Somewhat familiar O Not at all familiar

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58. Do you have any interactions with people who are Muslim or practice Islam?
OYes ONo
If “yes,” please explain:

 

 

 

59. Do you have strongly held thoughts or opinions about Muslims or about Islam?
If “yes,” what are they?

 

 

 

60. Do you believe the United States government acts unfairly towards Muslims in this
country or in other parts of the world? 0 Yes O1 No
If “yes,” please explain:

 

 

 

61. Do you believe the “war on terror” unfairly targets Muslims? O Yes ONo
62. Do you believe the “war on terror” is overblown or exaggerated? OJ Yes O No
63. Do you have strong feelings about our laws or government policies concerning legal

immigration? O Yes 0 No
If “yes,” please explain:

 

 

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64. Do you believe that our government allows too many Muslims, or too many people from
Muslim countries, to immigrate legally to the United States? O Yes ONo
If “yes,” please explain:

 

 

65. The defendant was born in Kyrgyzstan and is of Russian descent. Do you have any
beliefs, attitudes, or opinions regarding Kyrgyzstan, Russia, Chechnya, or Dagestan, or
the people who live there that would make it difficult for you to be a completely fair and
impartial juror in this case?

 

 

66. If you know anyone who, to the best of your knowledge, is Chechen, Avar, Dagestani or
of Chechen, Avar, or Dagestani descent, please describe who it is you know and how you
know them:

 

 

67. Do you understand any of the following foreign languages:
CO) Russian O) Chechen O Arabic

 

68. What is your primary source of news (e.g., newspapers, internet, TV, radio, word-of-
mouth, etc.)? Please list all that apply.

 

69. What newspapers do you read and how often do you read them? Please include online
editions of newspapers in your answer:

 

 

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70. What news or talk radio programs do you listen to on the radio or over the internet and
how often do you listen?

 

 

71. What national or local news programs do you watch on TV or over the internet and how
often do you watch?

 

 

72. To the best of your recollection, have you ever called into a talk show, written a letter to
the editor, or posted a comment on a website to express your opinion about ANY issue?
If “yes,” what was the issue?

 

 

73. How would you describe the amount of media coverage you have seen about this case:

____ A lot (read many articles or watched television accounts)
___ A moderate amount (just basic coverage in the news)
____ Alittle (basically just heard about it)

____ None (have not heard of case before today)

74, What did you think or feel when you received your jury summons for this case?

 

 

75. To the best of your recollection, what kinds of things did you say to others, or did others
say to you, regarding your possible jury service in this case?

 

 

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76. If you did any online research about this case, or about anything relating to it, after
receiving your jury summons, please describe it:

 

 

77. As a result of what you have seen or read in the news media, or what you have learned or
already know about the case from any source, have you formed an opinion:

(a) that Dzhokhar Tsarnaev is guilty? O Yes OX No O Unsure
(b) that Dzhokhar Tsarnaev is not guilty? 0 Yes O1No O Unsure
(c) that Dzhokhar Tsarnaev should receive the death penalty? O Yes O No O Unsure
(d) that Dzhokhar Tsarnaev should not receive the death penalty?
O Yes ONo O Unsure

If you answered “yes” to any of these questions, would you be able or unable to set aside
your opinion and base your decision about guilt and punishment solely on the evidence
that will be presented to you in court? O Able O Unable

78. If you answered “yes” to subparts (a), (b), (c), or (d) of #77, have you expressed or stated
your opinion to anyone else? O Yes O No
If “yes,” please explain:

 

79. If you have commented on this case in a letter to the editor, in an online comment or post,
or on a radio talk show, please describe:

 

 

 

80. If you or, to the best of your knowledge, a family member, or close friend witnessed the
Boston Marathon explosions or the response to them IN PERSON, please describe who
was there and what he or she saw:

 

 

 

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81. If you or, to the best of your knowledge, a family member, or close friend were
personally affected by the Boston Marathon bombings or any of the crimes charged in
this case (including being asked to “shelter in place” on April 19, 2013), please explain:

 

 

 

82. If you or, to the best of your knowledge, anyone in your family or household has
personally (1) taken part in any of the activities, events, or fundraisers that have been
held in support of the victims of the Boston Marathon bombings; (2) contributed to the
One Fund; or (3) bought or worn any merchandise, clothing, or accessories that have
logos such as “Boston Strong” that relate to the Boston Marathon bombings, please
explain:

 

 

 

The following is a summary of the facts of this case. Please read it carefully and answer
the questions that follow.

On Monday, April 15, 2013, two bombs exploded on Boylston Street in Boston near the
Boston Marathon finish line. The explosions killed Krystle Marie Campbell (29), Lingzi Lu (23),
and Martin Richard (8), and injured hundreds of others. Four days later, on Thursday, April 18,
2013, at approximately 10:30 p.m., MIT Police Officer Sean Collier (26) was shot to death in his
police car near the corner of Main Street and Vassar Street in Cambridge. Approximately 90
minutes later, a man named Dun Meng called the police from a gas station on Memorial Drive in
Cambridge; he said that two men had carjacked him in Boston, kidnapped and robbed him, and
still had his car. Approximately 20 minutes after that, two men in Watertown had a confrontation
with police near the intersection of Laurel Street and Dexter Avenue in which shots were fired
and bombs were thrown. One of the men, Tamerlan Tsarnaev, was injured at the scene and died
shortly thereafter. The other, Dzhokhar Tsarnaev, was captured some 15 hours later after he was
found hiding in a boat in Watertown.

Dzhokhar Tsarnaev has been charged with various crimes arising out of these events. Mr.

Tsarnaev was raised in Cambridge and attended Rindge and Latin High School. At the time he is
alleged to have committed the crimes, he was a 19-year-old student at UMass-Dartmouth.

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83. To the best of your knowledge, do you or anyone close to you have any PERSONAL
connection to any of the individuals or places mentioned in the case summary you just
read? If “yes,” please explain:

 

 

 

84. Do you believe you know any of the following people, their colleagues, staff members, or
family members? O Yes 01 No

(a) Presiding judge: The Honorable George A. O’Toole, Jr.;

(b) Defense lawyers: Judy Clarke, David I. Bruck, Miriam Conrad, Timothy Watkins,
and William Fick;

(c) Prosecutors: William D. Weinreb, Aloke S. Chakravarty, Nadine Pellegrini, and
Steven Mellin;

(d) Defendant: Dzhokhar Tsarnaev

If you answered “yes,” please identify whom you know and how you know them:

 

 

85. Attached to this document as Attachment A is a list of people who may testify at this
trial. Please review the names on the attached list. If you personally know any of the
individuals on the list, or any of their immediate family members, identify them here by
number and describe how you know them.

 

 

 

86. Attached to this document as Attachment B is a list of people who do not live in the
United States and who may testify at this trial. Please review the names on the attached
list. If you personally know any of the individuals on the list, or any of their immediate
family members, please circle them directly on Attachment B. Do not write their names
on this part of the questionnaire.

 

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87.

88.

89.

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The evidence in this case may include graphic photographs and videos showing very
severe injuries suffered by victims of the bombings. Do you think that seeing such
graphic pictures would affect your ability to serve as a juror?

 

Mr. Tsarnaev is charged with 17 crimes that carry the possibility of a sentence of death. If
the jury finds Mr. Tsarnaev guilty of one or more of those crimes, the same jury will then
decide whether to sentence Mr. Tsarnaev to death or to a sentence of life imprisonment
without the possibility of release.

If you have any views on the death penalty in general, what are they?

 

 

 

S17

Please circle one number that indicates your opinion about the death penalty. A
reflects a belief that the death penalty should never be imposed; a “10” reflects a belief
that the death penalty should be imposed whenever the defendant has been convicted of
intentional murder.

Strongly Strongly

Oppose Favor
1 2 3 5 6 7 8 9 10

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90. Which of the following best describes your feelings about the death penalty in a case
involving someone who is proven guilty of murder?

(a) 1 am opposed to the death penalty and will never vote to impose it in any case no
matter what the facts.

(b) I am opposed to the death penalty and would have a difficult time voting to impose it
even if the facts supported it.

(c) I am opposed to the death penalty but I could vote to impose it if I believed that the
facts and the law in a particular case called for it.

(d) I am not for or against the death penalty. I could vote to impose it, or I could vote to
impose a sentence of life imprisonment without the possibility of release, whichever I
believed was called for by the facts and the law in the case.

(e) | am in favor of the death penalty but I could vote for a sentence of life imprisonment
without the possibility of release if I believed that sentence was called for by the facts
and the law in the case.

(f) I am strongly in favor of the death penalty and I would have a difficult time voting for
life imprisonment without the possibility of release regardless of the facts.

(g) 1 am strongly in favor of the death penalty and would vote for it in every case in
which the person charged is eligible for a death sentence.

(h) None of the statements above correctly describes my feelings about the death penalty.

If you selected (h) as your answer, please explain:

 

 

91. If your views about the death penalty have changed over the past 10 years (e.g., now
more in favor or less in favor), please explain how and why your views have changed:

 

 

 

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92

93,

94.

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. If your views about the death penalty are informed by your religious, philosophical, or
spiritual beliefs, please describe how they are so informed:

 

 

 

Which of the following best describes your opinion? Please check only one.
Life imprisonment without the possibility of release is:

O Less severe than the death penalty

DC About the same as the death penalty

OC More severe than the death penalty

1 No opinion

Please explain your answer:

 

 

 

Do you believe that anyone close to you would be critical of you or disappointed in you if
you voted for the death penalty in this case? If you voted for life imprisonment without
the possibility of release? If your answer is “yes” or “I’m not sure” to either question,
please explain:

 

 

 

If you found Mr. Tsarnaev guilty and you decided that the death penalty was the
appropriate punishment for Mr. Tsarnaev, could you conscientiously vote for the death
penalty?

Oo Yes
OC I am not sure
11 No

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96. If you found Mr. Tsarnaev guilty and you decided that life imprisonment without the
possibility of release was the appropriate punishment for Mr. Tsarnaev, could you
conscientiously vote for life imprisonment without the possibility of release?

0 Yes
0 I am not sure
OO No

97.Is there any other matter or any information not otherwise covered by this
questionnaire—including anything else in your background, experience, employment,
training, education, knowledge, or beliefs—that would affect your ability to be a fair and
impartial juror?

 

 

 

98. Is there anything else that you would like to tell us, or that you feel we should know about
you?

 

 

 

99. Did you have any problems reading or understanding this questionnaire?

 

100. Did you have a response to any specific question above that you deem private or
sensitive that you request not be made public at this time? If so, list the number of that
question here:

 

 

 

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101. Additional Space (Please indicate question number):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Juror Number

Additional Space (continued):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I do hereby certify, under the pains and penalties of perjury, that I had no assistance in
completing this questionnaire and the answers that I have given in this questionnaire are
true and complete to the best of my knowledge and belief.

 

 

Signature Date

 

Print Name

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